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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                                             )                 Case No: 4:12CR3140
                              Plaintiff,     )
                 V.                          )                         ORDER
                                             )
GRADY E. GARTMAN,                            )
                                             )
                              Defendant.


     The court has been presented a Financial Affidavit (CJA Form 23) signed by the
    above-named defendant in support of a request for appointed counsel. After a
    review of the Financial Affidavit, I find that the above-named defendant is eligible
    for appointment of counsel pursuant to the Criminal Justice Act, 18 U.S.C.
    §3006A, and Amended Criminal Justice Act Plan for the District of Nebraska.

     IT IS ORDERED:

      The Federal Public Defender for the District of Nebraska is appointed to
    represent the above named defendant in this matter. In the event that the
    Federal Public Defender accepts this appointment, the Federal Public Defender
    shall forthwith file an appearance in this matter. In the event the Federal Public
    Defender should decline this appointment for reason of conflict or on the basis of
    the Criminal Justice Act Plan, the Federal Public Defender shall forthwith provide
    the court with a draft appointment order (CJA Form 20) bearing the name and
    other identifying information of the CJA Panel attorney identified in accordance
    with the Criminal Justice Act Plan for this district.

      IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to
    the Federal Public Defender for the District of Nebraska.

    DATED this 3rd day of January, 2013.

                                           BY THE COURT:

                                           S/ Cheryl R. Zwart
                                           United States Magistrate Judge
